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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION


 UNITED STATES OF AMERICA                                                  3:17-CR-00425-BR

                  v.                                         SUPERSEDING INDICTMENT

 JOSEPH RICHARD CARUSO,                                            21 u.s.c. §§ 802(32), 813,
                                                                  841(a)(l), 841(b)(l)(B)(vi),
                  Defendant.                                     841(b)(l)(C), 846, 952(a)(l),
                                                                  960(a)(l), and 960(b)(2)(F)

                                                                         Forfeiture Allegation



                                THE GRAND JURY CHARGES:

                                           COUNTl
      (Attempted Possession with the Intent to Distribute a Controlled Substance Analogue)
                               (21 U.S.C. §§ 84l(a)(l) and 846)

           On or about November 21, 2017, within the District of Oregon, defendant JOSEPH

RICHARD CARUSO did knowingly and intentionally attempt to possess with the intent to

distribute 10 grams or more of a mixture and substance containing a detectable amount of

Cyclopropyl Fentanyl (N-( 1-phenethylpiperidin-4-yl)-N-phenylcyclopropanecarboxamide), a

controlled substance analogue as defined in 21 U.S.C. § 802(32) ofFentanyl (N-phenyl-N-[1-(2-

phenylethyl)-4-piperidinyl] propanamide), a Schedule I controlled substance, knowing that the

substance was intended for human consumption as provided in 21 U.S.C. § 813;

Ill
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       In violation of Title 21, United States Code, Sections 802(32), 813, 841(a)(l),

84l(b)(l)(B)(vi), and 846.

                                       COUNT2
                (Unlawful Importation of a Controlled Substance Analogue)
                               (21 U.S.C. §§ 952 and 960)

       On or about November 19, 2017, within the District of Oregon, defendant JOSEPH

RICHARD CARUSO did knowingly and intentionally import into the United States, from a

place outside thereof, to-wit: China, 10 grams or more of a mixture and substance containing a

detectable amount of Cyclopropyl Fentanyl (N-(l-phenethylpiperidin-4-yl)-N-

phenylcyclopropanecarboxamide), a controlled substance analogue as defined in 21 U.S.C. §

802(32) of Fentanyl (N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide), a Schedule I

controlled substance, knowing that the substance was intended for human consumption as

provided in 21 U.S.C. § 813;

       In violation of Title 21, United States Code, Sections 802(32), 813, 952(a)(l), 960(a)(l),

and 960(b)(2)(F).

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INDICTMENT                                                                                  Page2
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                                             COUNT3
                    (Distribution of a Controlled Substance resulting in Death)
                               (21 U.S.C. §§ 841(a)(l) and (b)(l)(C))

       On or about October 23, 2017, within the District of Oregon, defendant JOSEPH

RICHARD CARUSO did knowingly and intentionally distribute a mixture and substance

containing Fentanyl, a Schedule II controlled substance, and death resulted from the use of the

fentanyl by B.S.;

       In violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                          COUNT4
              (Possession with the Intent to Distribute a Controlled Substance)
                           (21 U.S.C. §§ 841(a)(l) and (b)(l)(C))

       On or about October 23, 2017, within the District of Oregon, defendant JOSEPH

RICHARD CARUSO did knowingly and intentionally possess with the intent to distribute a

quantity of Fentanyl, a Schedule II controlled substance;

       In violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).

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INDICTMENT                                                                                  Page3
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                                FORFEITURE ALLEGATION

        Upon conviction of an offense listed in Counts 1, 2, 3, and 4, defendant JOSEPH

RICHARD CARUSO shall forfeit to the United States, pursuant to Title 21, United States

Code, Section 853, any property, real or personal, that was used or intended to be used to

commit or to facilitate the commission of such violations, and any property, real or personal,

constituting or derived from any proceeds obtained, directly or indirectly, as a result of such

violations.

        Dated this ,~~ day of January 2018.

                                                     A TRUE BILL.




Presented by:

BILLY J. WILLIAMS



                   , OSB # 965128
Assistant United States Attorney




INDICTMENT                                                                                   Page4
